Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 1 of 25




                                UNITED STATES DISTRICT COURT

                                SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                    MDL No. 2924
    PRODUCTS LIABILITY                            20-MD-2924
    LITIGATION
                                                  JUDGE ROBIN L. ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE E. REINHART
    _____________________________ _/

    THIS DOCUMENT RELATES TO:

    Campion v. GlaxoSmithKline LLC, et al.,               No. 24-cv-80265 (S.D. Fla.).
    Cusick v. GlaxoSmithKline LLC, et al.,                No. 24-cv-80271 (S.D. Fla.).
    Rascento v. GlaxoSmithKline LLC, et al.,              No. 24-cv-80264 (S.D. Fla.).
    Rounds v. GlaxoSmithKline LLC, et al.,                No. 24-cv-80266 (S.D. Fla.).



                         MOTION TO VACATE OR DECLINE TO ENFORCE
                            PRETRIAL ORDER NO. 72 AND REMAND

           The above-captioned Plaintiffs (“Plaintiffs”), by and through undersigned counsel,

    respectfully move this court to (1) vacate or decline to enforce certification pursuant to Pretrial

    Order No. 72 (“PTO 72”) in the four above-captioned cases (“Cases”) and (2) remand these

    Cases, illegally removed from Delaware state court pursuant to 28 U.S.C. § 1447(c). This

    motion is filed with leave of Court pursuant to Amended Pretrial Order No. 24.
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 2 of 25




                                                      TABLE OF CONTENTS

                                                                                                                                        Page

    TABLE OF CONTENTS .............................................................................................................. i

    TABLE OF AUTHORITIES ....................................................................................................... ii

    INTRODUCTION......................................................................................................................... 1

    BACKGROUND ........................................................................................................................... 3

    ARGUMENT ................................................................................................................................. 7

    I.        MOTION TO VACATE OR DECLINE TO ENFORCE CERTIFICATION ........... 7

              A.         Legal Standard ...................................................................................................... 7

              B.         The Court has the Authority to Avoid Manifest Injustice ................................ 9

                         1.         Enforcement of the Unconsented Certification Would Exact a
                                    Manifest Injustice........................................................................................ 9

                         2.         Plaintiffs’ Lack of Consent Warrants Vacating the Certification ............. 11

                         3.         Failing to Follow a Procedural Technicality in a Pretrial Order Should
                                    Not Bar Plaintiff Rascento from His Day in Court ................................... 14

                         4.         No Surprise or Prejudice Will Result........................................................ 15

    II.       MOTION TO REMAND ................................................................................................ 16

              A.         Legal Standard .................................................................................................... 17

              B.         Delaware State Court Is a Proper Jurisdiction ................................................ 17

    CONCLUSION ........................................................................................................................... 19

    CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(3) .............................................. 20

    CERTIFICATE OF SERVICE ................................................................................................. 20




                                                                              i
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 3 of 25




                                                  TABLE OF AUTHORITIES

                                                                                                                                Page(s)

    Cases

    Billings v. City of Orlando,
      287 So. 2d 316 (Fla. 1973)........................................................................................................ 13

    BP Prod. N. Am., Inc. v. Oakridge at Winegard, Inc.,
      469 F. Supp. 2d 1128 (M.D. Fla. 2007) .................................................................................... 11

    Burns v. Windsor Ins. Co.,
      31 F.3d 1092 (11th Cir. 1994) .................................................................................................. 18

    Carroll v. Pfeffer,
      262 F.3d 847 (8th Cir. 2001) ................................................................................................ 9, 10

    Clark v. Pennsylvania R. Co.,
      328 F.2d 591 (2d Cir. 1964)........................................................................................................ 8

    Design Ctr. of the Americas, LLC v. Mike Bell Inc.,
      54 F. Supp. 3d 1339 (S.D. Fla. 2014) ....................................................................................... 17

    Dickerson v. Cent. United Life Ins. Co.,
      932 F. Supp. 1471 (M.D. Ga. 1996) ............................................................................... 8, 15, 16

    Equitable Life Assurance Soc’y of U.S. v. MacGill,
      551 F.2d 978 (5th Cir. 1977) ...................................................................................................... 8

    Hale v. Firestone Tire & Rubber Co.,
      756 F.2d 1322 (8th Cir.1985) ................................................................................................... 10

    Hodges v. U.S.,
      597 F.2d 1014 (5th Cir. 1979) .................................................................................................... 8

    In re Air Safety Int'l, L.C.,
       336 B.R. 843 (S.D. Fla. 2005) .................................................................................................. 12

    In re Sav-A-Stop,
       124 B.R. 356 (M.D. Fla. 1991) ................................................................................................. 13

    In re United Container LLC,
       284 B.R. 162 (Bankr. S.D. Fla. 2002)....................................................................................... 17

    In re Zantac (Ranitidine) Litig.,
       No. N22C-09-101 ZAN, 2024 WL 2812168 (Del. Super. Ct. May 31, 2024) ........................... 9

    Jacobs v. Agency Rent-A-Car, Inc.,
                                                                           ii
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 4 of 25




       145 F.3d 1430 (11th Cir. 1998) .................................................................................................. 8

    Matter of Rogers,
     160 B.R. 249 (Bankr. N.D. Ga. 1993) ...................................................................................... 16

    Maxum Indem. Co. v. Fun Zone Ent., LLC,
     No. 3:18-CV-477-J-34PDB, 2020 WL 3052092 (M.D. Fla. Feb. 5, 2020) .................... 8, 11, 12

    Maxum Indem. Co.,
     2020 WL 1547453 .................................................................................................................... 12

    Morrison v. Genuine Parts Co.,
     828 F.2d 708 (11th Cir. 1987) .................................................................................................... 8

    Morro v. City of Birmingham,
     117 F.3d 508 (11th Cir. 1997) .................................................................................................... 8

    Scott v. Spanjer Bros.,
      298 F.2d 928 (2d Cir. 1962)........................................................................................................ 8

    Shamrock Oil & Gas Corp. v. Sheets,
      313 U.S. 100 (1941) .................................................................................................................. 17

    Sibilia v. Makita Corp.,
      674 F. Supp. 2d 1290 (M.D. Fla. 2009) .................................................................................... 17

    Source Med. Sols., Inc. v. Amkai, LLC,
      2010 WL 11565669 (N.D. Ala. Dec. 16, 2010) ........................................................................ 11

    Sphinx Int'l, Inc. v. Nat'l Union Fire Ins. Co. of Pittsburgh, Pa.,
      226 F. Supp. 2d 1326 (M.D. Fla. 2002) .................................................................................... 13

    Stillwell v. Allstate Ins. Co.,
       663 F.3d 1329 (11th Cir. 2011) .......................................................................................... 18, 19

    Syngenta Crop Prot. Inc. v. Henson,
      537 U.S. 28 (2002) .................................................................................................................... 17

    Torres v. Oakland Scavenger Co.,
      487 U.S. 312 (1988) .................................................................................................................... 9

    U.S. v. Varner,
      13 F.3d 1503 (1994).............................................................................................................. 8, 15

    Univ. of S. Ala. v. Am. Tobacco Co.,
      168 F.3d 405 (11th Cir. 1999) .................................................................................................. 17

    Vantage Broadcasting Co. v. WINT Radio, Inc.,
      476 So.2d 796 (Fla. 1st DCA 1985) ................................................................................... 11, 12
                                                                             iii
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 5 of 25




    Washington v. General Motors Acceptance Corp.,
     19 F.R.D. 370 (S.D. Fla. 1956) ................................................................................................... 8

    Statutes

    28 U.S.C. §§ 1331 ......................................................................................................................... 17

    28 U.S.C. §1332 ........................................................................................................................ 2, 17

    28 U.S.C. § 1441 ........................................................................................................................... 18

    28 U.S.C. § 1446 ........................................................................................................................... 17

    Rules

    Fed. R. Civ. P. 16 ................................................................................................................... passim




                                                                               iv
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 6 of 25




                                                 INTRODUCTION

            Plaintiffs are comprised of victims, and their surviving descendants, who developed

    cancer from using Defendants’1 ranitidine-containing drugs. They, along with over 70,000

    similarly positioned claimants, filed suit against Defendants in the Delaware Superior Court of

    New Castle County. Without Plaintiffs’ knowledge or consent, other counsel, who claimed to

    represent Plaintiffs, certified the Plaintiffs as participants in the Zantac Multidistrict Litigation

    (“MDL”) pursuant to PTO 72.

            After an initial census under PTO 15, PTO 72 sought to finalize the list of Plaintiffs

    participating in the MDL. The resulting “census registry” is a new tool in MDLs,2 and its terms

    were stipulated by the Defendants and the MDL Plaintiff’s leadership. Should a plaintiff certify,

    the plaintiff received tolling in exchange for releasing claims against diversity destroying

    defendants, binding claimants to the authority of this Court, estopping claimants from filing in

    any other court, and dismissing existing pending claims elsewhere. Furthermore, given this

    Court’s Daubert and summary judgment rulings, which were issued after Plaintiffs filed in

    Delaware state court, Plaintiffs would lose their entire case if their claims were tied to this Court.

            However, under Rule 16, courts have broad discretion to vacate the terms of, or grant

    exemptions to, the terms of pretrial orders, especially when they would cause a manifest

    injustice. Fed. R. Civ. P. 16(c)-(e). As explained further below, courts have repeatedly



    1
      Defendants are GlaxoSmithKline, LLC, Pfizer, Inc., Boehringer Ingelheim Pharmaceuticals, Inc., Boehringer
    Ingelheim USA Corporation, Sanofi-Aventis U.S. LLC, Sanofi U.S. Services, Inc., and Patheon Manufacturing
    Services LLC.
    2
      Census registries are being used in four pending MDLs: (1) this case; (2) In re 3M Combat Arms Earplug Products
    Liability Litigation, MDL No. 2885; (3) In re Juul Labs, Inc. Marketing, Sales Practices & Products Liability
    Litigation, MDL No. 2913, and (4) In re Philips Recalled CPAP, Bi-Level Pap, and Mechanical Ventilator Products
    Litigation, MDL No. 3014. The ABA Advisory Committee on Civil Rules, of which the Hon. Judge Rosenberg is a
    member, recently discussed a proposed Rule 16.1, guiding pre-trial management procedures such as census registries.
    https://www.americanbar.org/groups/litigation/resources/newsletters/mass-torts/spring2024-effective-use-of-census-
    registries-in-multidistrict-litigation/.

                                                                 1
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 7 of 25




    amended, vacated, or declined to enforce pretrial orders that would bar a party from presenting

    their case on the merits in the name of “mere” technicalities. Moreover, courts have found it is a

    manifest injustice to enforce an unauthorized action by counsel, which compromises or releases

    their client’s claims without consent.

             Considering the nature of certification, and its release of claims against potential

    defendants, the terms of certification required the consent. However, Plaintiffs Campion,

    Cusick, and Rounds did not consent to or authorize certification. These Plaintiffs explicitly

    authorized their cases to be filed in state court in Delaware, not the MDL. Indeed, this is why

    each filed their cases in Delaware, and did so before the Court’s Daubert ruling. Indeed, they

    were unaware their cases had ever been certified or filed in federal court, or that the terms of

    certification might bar them from filing elsewhere.

             For these reasons, the certification entered by other counsel and without their consent

    should be vacated or set aside. Such a result is the only fair and just outcome. And, once that

    certification is vacated, the claims against the diversity destroying Defendant, Patheon, will no

    longer be fraudulently joined3 and, thus, this Court will lack complete diversity over the

    Plaintiffs’ cases under 28 U.S.C. §1332(a). Thus, this Court must remand the cases back to

    Delaware.

             Thus, Plaintiffs respectfully request that the Court enter an order (1) vacating certification

    under PTO 72 of the cases represented by the above-named Plaintiffs and (2) remanding these

    cases respectively back to Delaware state court so that they may continue to proceed where they

    were, originally, filed almost two years ago.


    3
      Plaintiffs do not believe Patheon is fraudulently joined, even if the Court does not vacate the certification. And,
    thus, Plaintiffs maintain that this Court, at this moment, lack any jurisdiction over this these cases. However, this
    Court disagreed in its recent order. Plaintiffs preserve and to not waive their objection to that ruling for the purposes
    of appeal, if needed.

                                                                    2
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 8 of 25




                                                  BACKGROUND

            The Plaintiffs originally filed their cases in the Superior Court of New Castle County,

    alongside 70,000 other filed claims. In the Delaware proceeding, Defendants4 identified a few

    hundred plaintiffs that had, according to Defendants’ records, were “Certified Federal

    Participants” (“CFPs”) pursuant the federal Multidistrict Litigation (“MDL”) PTO 72 and in their

    view, were bound to litigate their claims within the MDL. The above-named Plaintiffs were

    among those identified claimants.

            Campion is a death case, with the plaintiff’s husband, William H. Campion, acting as her

    personal representative. Campion, Declaration at ¶ 1. The decedent developed pancreatic cancer

    caused by exposure to NDMA in the ranitidine products she consumed. Complaint, ECF No. 1-

    2, at *4, Campion v. GlaxoSmithKline LLC, et al., No. 24-cv-80265 (S.D. Fla. Feb. 16, 2024).

    The decedent’s representative alleges consumption of over-the-counter ranitidine products

    between 2007 and 2015. Campion, Declaration at ¶ 2. Mr. Campion retained Wisner Baum,

    LLP (“Wisner Baum”) on May 29, 2022 to represent him in this litigation. Campion,

    Declaration at ¶ 3. Renee Campion was a citizen of Pennsylvania. Campion, Notice of Removal

    at ¶ 2. Because Ms. Campion had valid claims against Patheon, on September 13, 2022, Wisner

    Baum filed Mr. Campion’s claim in Delaware state court in a multi-plaintiff complaint, Ruchin v.

    GlaxoSmithKline LLC, et al. No. N22C-09-237 VLM. Then, pursuant to the agreement discussed

    above, it was filed individually on January 15, 2024 in Campion v. GlaxoSmithKline LLC, et al.,

    No. N24C-01-111 ZAN.



    4
      Importantly, the lawsuits in federal court name GlaxoSmithKline, LLC; GlaxoSmithKline Holdings (Americas), Inc.;
    GlaxoSmithKline, PLC; and 18 generic manufacturers, not named in the Delaware Complaint, while the Delaware
    lawsuit names Defendants GlaxoSmithKline, LLC; Pfizer, Inc.; Boehringer Ingelheim Pharmaceuticals, Inc.;
    Boehringer Ingelheim USA Corporation; Sanofi-Aventis U.S. LLC; Sanofi U.S. Services, Inc.; and Patheon
    Manufacturing Services LLC.


                                                                3
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 9 of 25




            Mr. Campion has no recollection of interacting with any firm other than Wisner Baum

    regarding representation of his claim. Campion, Declaration at ¶ 5. Romanucci & Blandin, LLC

    (“Romanucci & Blandin”) certified this case pursuant to PTO 72 on June 30, 2022. Campion,

    Notice of Removal at ¶ 8. Mr. Campion never provided authority or consented to such a

    certification. Campion, Declaration at ¶ 6-7. Wisner Baum never registered in the MDL, so

    Wisner Baum’s counsel was never made aware by LMI that another firm, claiming to represent

    the Campions, had registered in the MDL.5 Mr. Campion did, however, give authority to Wisner

    Baum to file his case in Delaware. Campion, Declaration at ¶ 4. Then, on April 3, 2023—seven

    months after the case had already been filed and served in Delaware, and unbeknownst to Mr.

    Campion, Romanucci & Blandin, LLC filed a second case in this MDL. Campion, Notice of

    Removal at ¶ 12.

            Cusick is a death case, with the decedent’s daughter, Cathy Williams pursuing the claim

    as a personal representative. Cusick, Declaration at ¶ 1. The decedent developed stomach cancer

    caused by exposure to NDMA from ranitidine products he consumed. Complaint, ECF No. 1-3,

    at *5, Cusick v. GlaxoSmithKiline LLC, et al., No. 24-cv-80271 (S.D. Fla., Feb. 16, 2024). The

    decedent’s representative alleges consumption of prescription and over-the-counter ranitidine

    products between 2000 and 2005. Cusick, Declaration at ¶ 2. Ms. Williams retained Wisner

    Baum on July 9, 2020 to represent her in this litigation. Cusick, Declaration at ¶ 4. Ms. Williams

    is a citizen of Missouri. Cusick, Notice of Removal at ¶ 2. As she had valid claims against

    Patheon, having ingested OTC Zantac, the case was filed on September 13, 2022 in a multi-

    plaintiff complaint, Durmach v. GlaxoSmithKline LLC, et al., No. N22C-09-225 VLM. Then,

    pursuant to the agreement discussed above, the case was filed individually on January 16, 2024


    5
     Indeed, Wisner Baum on June 30, 2022, specifically pulled all cases in the MDL registry, before filing those
    matters in various state courts.

                                                                 4
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 10 of 25




    in Cusick v. GlaxoSmithKiline LLC, et al. No. N24C-01-112 ZAN.

           Wisner Baum never registered the case to participate in the federal MDL and, thus, was

    never told by LMI that another firm claimed to represent her or that they had taken action to

    register her claim in the MDL. Ms. Williams recalls interacting with a local Missouri law firm,

    Carey, Danis & Lowe, LLC (“Carey Danis & Lowe”) but was under the impression that the firm

    worked with Wisner Baum. Cusick, Declaration at ¶ 6. On June 30, 2022, Carey Danis & Lowe

    certified her case pursuant to PTO 72. Cusick, Notice of Removal at ¶ 8. Ms. Williams never

    provided authority or consented to such a certification. Cusick, Declaration at ¶ 5, 7, 8. Ms.

    Williams did, however, give authority to Wisner Baum to file her case in Delaware. Cusick,

    Declaration at ¶ 4. Then, on February 13, 2023, five months after the claim had already been

    filed in Delaware, and unbeknownst to Ms. Williams, Carey Danis & Lowe filed a second case

    in this MDL. Cusick, Notice of Removal at ¶ 12.

           Rounds is similar to Cusick. It involves a case in which different firms filed in each

    venue, the plaintiff was unaware of that they had dual representation, the plaintiff was also

    unaware of the dual filings, and the firms were unaware of the other’s representation. Rounds,

    Declaration at ¶ 3-7. The case is primarily distinguished from Cusick in that Mr. Rounds is still

    living. Mr. Rounds developed bladder cancer caused by exposure to NDMA from ranitidine

    products he consumed. Complaint, ECF No. 1-2, at *8, No. 24-cv-80266 (S.D. Fla., Feb. 20,

    2024). Mr. Rounds alleges consumption of over-the-counter ranitidine products between 1998

    and 2010. Rounds, Declaration at 2. Mr. Rounds retained Moore Law Group, PLLC (“MLG”)

    on October 30, 2020 to represent him in this litigation. Rounds, Declaration at ¶ 4. Mr. Rounds

    is a citizen of Massachusetts. Rounds, Motion for Remand at ¶ 2. Because Mr. Rounds

    consumed OTC Zantac and has valid claims against Patheon, the lawsuit was filed on September



                                                         5
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 11 of 25




    13, 2022 in a multi-plaintiff complaint, Haskell v. GlaxoSmithKline LLC, et al., No. N22C-09-304

    VLM in Delaware state court. Then, pursuant to the agreement discussed above, was filed

    individually on January 24, 2024 in Rounds v. GlaxoSmithKline LLC, et al., No. N24C-01-194

    ZAN.

           MLG never registered the case to participate in the federal MDL and, thus, was never

    made aware of any dual representation or any action taken by another law firm. Mr. Rounds has

    no recollection of interacting with any firm other than MLG regarding representation of his

    claim. Rounds, Declaration at ¶ 5-7. Keller-Postman LLC (“Keller Postman”) certified his case

    pursuant to PTO 72 on June 30, 2022. Rounds, Notice of Removal at ¶ 8. Mr. Rounds never

    provided authority or consented to such a certification. Rounds, Declaration at ¶ 7-8. Mr.

    Rounds did, however, give authority to MLG to file his case in Delaware. Rounds, Declaration

    at ¶ 4. Then, on February 24, 2023, five months after the case had already been filed in

    Delaware state court and unbeknownst to Mr. Campion, Keller Postman filed a second case in

    this MDL. Rounds, Notice of Removal at ¶ 12.

           Plaintiff Rascento, a citizen of Pennsylvania, presents a different circumstance. Rascento,

    Notice of Removal at ¶ 2. Trammell PC (“Trammell”) certified the case in the MDL on June 30,

    2022. Trammel then filed the case in Delaware on November 11, 2022 in Lescord v.

    GlaxoSmithKline LLC, et al., No. N22C-11-114 ZAN. The case in Delaware alleges that

    exposure to NDMA from ranitidine caused the development of prostate cancer. See generally,

    Complaint, ECF No. 1-1, No. 24-cv-80264 (S.D. Fla., Feb. 20, 2024). Trammell later filed the

    case individually in Delaware on January 16, 2024 in Rascento v. GlaxoSmithKline LLC, et al.,

    No. N24C-01-106 ZAN. That same day, Trammel filed a second complaint in the MDL on

    January 16, 2024, alleging a different cancer, i.e., stomach. Rascento, Notice of Removal at ¶



                                                        6
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 12 of 25




    11. Rascento certified his stomach cancer case for participation in the MDL, because MDL

    leadership had included it as a “designated” cancer. However, he deliberately chose to pursue

    his prostate cancer claim in the Delaware state court, because the leadership is actively pursuing

    the cancer type there.

            Pursuant to the agreement, as explained above, Plaintiffs filed individual Delaware

    complaints in January 2024.6 Defendants, on February 16, 2024, removed the cases to federal

    court. Notice of Removal.7 By agreement, the cases were then noticed for tag-along to the MDL

    and the cases were ordered transferred to this MDL on March 6, 2024.

            On April 9, 2024, Plaintiffs moved to remand this case to Delaware state court, followed

    by Defendants’ opposition, Plaintiffs’ reply, and further briefing upon the Court’s request. See

    ECF Nos. 7264-1; 7275; 7282. The Court denied Plaintiffs’ Motion to Remand, explaining that

    it was bound by the certification in PTO 72, and thus, the Court did not have the power to

    remand the Cases. ECF No. 7308, at *6-9. The Court highlighted Plaintiffs’ failure to file a

    motion to vacate certification pursuant to Pretrial Order 72 prior to moving to remand. ECF No.

    7308, at *8-9. This motion followed.

                                                   ARGUMENT

          I.     MOTION TO VACATE OR DECLINE TO ENFORCE CERTIFICATION

                 A.     Legal Standard

            Pretrial orders and stipulations are governed by Federal Rule of Civil Procedure 16(e).



    6
      Cusick v. GlaxoSmithKiline LLC, et al. No. N24C-01-112 ZAN, filed Jan 16, 2024.
    Campion v. GlaxoSmithKline LLC, et al., No. N24C-01-111 ZAN, filed Jan. 15, 2024.
    Rascento v. GlaxoSmithKline LLC, et al., No. N24C-01-106 ZAN, filed Jan 16, 2024.
    Rounds v. GlaxoSmithKline LLC, et al., No. N24C-01-194 ZAN, filed Jan 24, 2024.
    7
      Not. of Removal, Campion v. GlaxoSmithKline LLC, et al., No. 24-cv-80265 (S.D. Fla.).
    Not. of Removal, Cusick v. GlaxoSmithKline LLC, et al., No. 24-cv-80271 (S.D. Fla.).
    Not. of Removal, Rascento v. GlaxoSmithKline LLC, et al., No. 24-cv-80264 (S.D. Fla.).
    Not. of Removal, Rounds v. GlaxoSmithKline LLC, et al., No. 24-cv-80266 (S.D. Fla.).

                                                               7
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 13 of 25




    Dickerson v. Cent. United Life Ins. Co., 932 F. Supp. 1471, 1474 (M.D. Ga. 1996); U.S. v.

    Varner, 13 F.3d 1503, 1507 (1994). Generally, pretrial orders and stipulations are binding on

    parties, but trial courts have broad discretion in whether to hold a party to a stipulation or order.

    E.g., Maxum Indem. Co. v. Fun Zone Ent., LLC, No. 3:18-CV-477-J-34PDB, 2020 WL 3052092,

    at *25 (M.D. Fla. Feb. 5, 2020), report and recommendation adopted sub nom. Maxum Indem.

    Co. v. Shaw, No. 3:18-CV-477-J-34PDB, 2020 WL 1547453 (M.D. Fla. Mar. 25, 2020) (citing

    Equitable Life Assurance Soc’y of U.S. v. MacGill, 551 F.2d 978, 984 (5th Cir. 1977); Morrison

    v. Genuine Parts Co., 828 F.2d 708, 709 (11th Cir. 1987)). Further, trial courts should use their

    “discretion to preserve the integrity and purpose of the pretrial order.” Jacobs v. Agency Rent-A-

    Car, Inc., 145 F.3d 1430, 1432 (11th Cir. 1998) (quoting Hodges v. U.S., 597 F.2d 1014, 1018

    (5th Cir. 1979). Indeed, a pretrial order should not be a “strait-jacket . . . of procedure” that gets

    in the way of the administration of justice and leads to “adjudications based on the sporting

    theory.” Scott v. Spanjer Bros., 298 F.2d 928, 931 (2d Cir. 1962) (citing Washington v. General

    Motors Acceptance Corp., 19 F.R.D. 370 (S.D. Fla. 1956); see also Clark v. Pennsylvania R.

    Co., 328 F.2d 591, 594 (2d Cir. 1964) (citations omitted).

            Accordingly, the trial court may amend, vacate, or decline to enforce pretrial orders and

    stipulations under Rule 16 to prevent manifest injustice. Dickerson, 932 F. Supp. at 1474 (citing

    Fed. R. Civ. P. 16(e)); Varner, 13 F.3d at 1507; Morro v. City of Birmingham, 117 F.3d 508

    (11th Cir. 1997). If a court vacates a pretrial order or stipulation, it is presumed that it was done

    in the interest of justice and sound judicial administration, provided there is no substantial

    prejudice or surprise to the opposing party or inconvenience to the court. Varner, 13 F.3d at

    1507.




                                                          8
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 14 of 25




                 B.      The Court has the Authority to Avoid Manifest Injustice

             This Court should exercise its broad discretion to vacate or decline to enforce Plaintiffs’

    unconsented certification under PTO 72. The unauthorized certification of Plaintiffs’ claims

    under PTO 72 is a procedural “strait-jacket” that stands in the way of the administration of

    justice, namely preventing Plaintiffs from pursuing valid claims against a defendant (Patheon)

    and being forced to litigate in a forum that will doom their cases—even when the case could

    proceed, on the merits, in the Plaintiffs’ chosen forum. Here, it would be a manifestly unjust to

    bind Plaintiffs to an agreement they never consented to – an agreement that, if applicable,

    effectively terminates their cases; a point made even more salient in light of the Delaware state

    court’s recent, disagreeing with this MDL and allowing general causation to proceed to a jury.

    See In re Zantac (Ranitidine) Litig., No. N22C-09-101 ZAN, 2024 WL 2812168, at *1 (Del.

    Super. Ct. May 31, 2024).

                       1. Enforcement of the Unconsented Certification Would Exact a Manifest
                          Injustice8

              First, not hearing a case on the merits, for the sake of pretrial procedure, is manifest

    injustice. Carroll v. Pfeffer, 262 F.3d 847, 849–50 (8th Cir. 2001). It is well-settled that “the

    requirements of the rules of procedure should be liberally construed and that ‘mere

    technicalities’ should not stand in the way of consideration of a case on its merits.” E.g., Torres

    v. Oakland Scavenger Co., 487 U.S. 312, 316 (1988).9



    8
       The Plaintiffs referenced in Subsections I(B)(1)-(2) are Plaintiffs Campion, Cusick, and Rounds. The Plaintiff
    referenced in in Subsection I(B)(3) is Rascento. Subsection I(B)(4) applies to all Plaintiffs.
    9
      The ABA Advisory Committee on Civil Rules recently noted in its Draft Committee Note to Rule 16.1(d), “…There
    is no requirement under Rule 16.1 that the court set specific time limits or other scheduling provisions as in ordinary
    litigation under Rule 16(b)(3)(A). Because active judicial management of MDL proceedings must be flexible, the
    court should be open to modifying its initial management order in light of subsequent developments in the MDL
    proceedings. Such modification may be particularly appropriate if leadership counsel were appointed after the initial
    management conference under Rule 16.1(a).”
    https://www.uscourts.gov/sites/default/files/2023-03_civil_rules_committee_agenda_book_final_0.pdf

                                                                   9
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 15 of 25




            Because an MDL census registry is a relatively novel procedure, specific to MDLs, and

    its terms have been negotiated ad hoc and not by Plaintiffs or their counsel directly, there is no

    case directly on point. However, as a policy, courts opt to allow a party to voice their claim or

    defense, rather than let a pretrial procedure or existing pretrial order stifle their substantive case.

    For example, in Carroll v. Pfeiffer, after the final pretrial order had been entered, it came to the

    court’s attention that the defendant had never filed an answer nor raised any defenses. 262 F.3d

    847, 849 (8th Cir. 2001). Thus, the existing pretrial order threatened to prevent the defendant

    from arguing his case at trial. Id. Rather than doom the defendant’s case, the court directed the

    defendant to file an answer before the case was allowed to proceed further, even though this

    required modification of the final pretrial order. Id. The court explained:

            The district court determined that this omission was plain error and that the case
            should not be allowed to proceed because it had not met even the most basic
            pleading requirements. Although an order on a final pretrial conference normally
            controls the subsequent course of action, the order can be modified to prevent
            manifest injustice. A pretrial order will be modified only if there is no substantial
            injury or prejudice to the opponent. There was no substantial injury or prejudice
            to [plaintiff] in allowing [defendant] to file a late answer in this case. . . . Not
            allowing [defendant] to file his answer and raise his defense of qualified
            immunity would have been a manifest injustice. Here, the district court acted in
            the interests of fair play while at the same time recognizing the need to conserve
            judicial resources.

    Id. at 849-50 (citing Fed. R. Civ. P. 16(e); Hale v. Firestone Tire & Rubber Co., 756 F.2d 1322,

    1335 (8th Cir.1985)) (quotations omitted). Although the defendant erred in not filing a timely

    answer and a pretrial order had been in place, the court found it more important that both parties

    have their arguments heard by the judge and jury. See id.

            Here, because some attorneys claimed to represent Plaintiffs and represented to this Court

    that Plaintiffs consented to certification at the pleading stage, the terms of PTO 72 would force

    Plaintiffs to lose their claims against Patheon with prejudice, without ever allowing them to
                                                          10
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 16 of 25




    obtain adjudication on the merits. It would also, effectively, lead to the termination of their

    entire case in light of this Court’s previous Daubert and summary judgment rulings.

    Alternatively, this Court could vacate or decline to enforce certification under PTO 72 for these

    Plaintiffs, which would allow Plaintiffs to have their day in state court. Thus, it would be a

    manifest injustice to allow the mere technicality of registering a claim, which is not a common

    procedure and was done without each Plaintiffs’ consent, to stand in the way of justice.

                     2. Plaintiffs’ Lack of Consent Warrants Vacating the Certification

             Plaintiffs in this case have declared, under oath, that they did not consent to become

    CFPs. The lack of consent vitiates the estoppel and release of claims under PTO 72, because it is

    a “[m]anifest injustice . . . where counsel enters into a stipulation that essentially settles the case

    without his client’s consent.” Maxum Indem. Co., 2020 WL 3052092, at *25. A fundamental

    tenant of the attorney-client relationship is that “an attorney . . . may not ‘compromise’ his

    ‘client's cause of action’ except on the ‘express authority of the client.”’ Source Med. Sols., Inc.

    v. Amkai, LLC, 2010 WL 11565669, at *2 (N.D. Ala. Dec. 16, 2010) (citations omitted); BP

    Prod. N. Am., Inc. v. Oakridge at Winegard, Inc., 469 F. Supp. 2d 1128, 1134 (M.D. Fla. 2007),

    as amended (Jan. 3, 2007) (“An unauthorized compromise, executed by an attorney, unless

    subsequently ratified by his client, is of no effect and may be repudiated or ignored and treated as

    a nullity by the client.”) (quoting Vantage Broadcasting Co. v. WINT Radio, Inc., 476 So.2d 796,

    798 (Fla. 1st DCA 1985)).

            The case Maxum Indemnity Company v. Fun Zone Entertainment, LLC is particularly

    instructive here. The facts are messy, which is helpful, because the court does a great job of

    parsing apart how the Rule 16 manifest injustice standard applies to pretrial stipulations that have




                                                          11
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 17 of 25




    the effect of a final judgment.10 In Maxum, amongst other issues, Jones’ and Shaw’s counsel

    entered them into a pretrial stipulation with Maxum, which estopped them from pursuing their

    claims further. 2020 WL 3052092, at *25. Specifically, the pretrial stipulation their attorney

    entered into for them had the effect of dismissing Maxum without trial, contrary to their wishes.

    See id. at *16. The court declined to enforce the pretrial stipulation, because it would be a

    manifest injustice to allow an attorney to act without their consent and estop their claims and

    defenses from being heard. See id. at *12, *25. The court pointed to the affidavits of Jones and

    Shaw, where they stated that they would not have dismissed nor removed any opposing parties

    without going to trial. Maxum Indem. Co., 2020 WL 1547453, at *5. The court also considered

    the testimony that they did not see the stipulation before it was filed and would never have

    agreed to its terms. Id. Thus, even though the pretrial stipulation was “interlocutory in nature,”

    the court identified that it still may be vacated or declined to be enforced for the manifest

    injustice of lacking client consent. See id. at *10-12.

             Importantly, the court rejected Maxum’s argument that the court must enforce the pretrial

    stipulation because Jones and Shaw enjoyed benefits from it. Pursuant to the challenged pretrial

    stipulation, Maxum had agreed to withdraw its motions to intervene and stay and motions in

    related state court actions. The court still held that the most important consideration was

    “counsel’s authority to enter into an agreement,” not “receipt of a tangible and valuable benefit

    by the estopped party.” 2020 WL 3052092, at *24–25 (citing In re Air Safety Int'l, L.C., 336

    B.R. 843, 861 n.18 (S.D. Fla. 2005) (rejecting argument that stipulation violates Bankruptcy




    10
       Court’s analysis was thorough, because “[t]he stipulation [did] not neatly qualify as a pretrial stipulation, a voluntary
    dismissal, or a consent judgment but share[d] characteristics of all of those types[.]” Id. at fn. 28. Although the court
    applies the manifest injustice standard under Rule 60, “[t]he recommendation would be the same even if the stipulation
    was deemed more like a pretrial stipulation” governed by Rule 16(c). Id. at fn. 28, 36 (“Rule 16(c) addresses pretrial
    stipulations.”).

                                                                     12
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 18 of 25




    Code and noting appellant's retention of money provided as result of stipulation estops appellant

    from attacking stipulation); Sphinx Int'l, Inc. v. Nat'l Union Fire Ins. Co. of Pittsburgh, Pa., 226

    F. Supp. 2d 1326, 1333 (M.D. Fla. 2002) (plaintiffs could not retain benefit of designating

    person as former director or officer and later avoid implications of designation); In re Sav-A-

    Stop, 124 B.R. 356, 360 (M.D. Fla. 1991) (in competitor dispute, company estopped from

    denying it owed money under settlement agreement assertedly unenforceable as unspecific

    where, under agreement, other side timely provided company complete customer and employee

    lists and took other actions for company's benefit and to its tangible detriment, including its

    payment of expenses); Billings v. City of Orlando, 287 So. 2d 316, 318 (Fla. 1973) (policemen

    and their families who accepted disability and pension benefits could not later reject portions of

    contracts displeasing to them)).

           Here, the pretrial order certification, like the Maxum pretrial stipulation, was entered into

    by counsel without authorization, an agreement that estops Plaintiffs from having their claims

    heard against a specific defendant. Under oath, the Plaintiffs here, like Jones and Shaw, declared

    they did not authorize alleged counsel to certify their claims in federal court. Further, the CPFs

    Defendants previously provided in their opposition to Plaintiffs’ motion to remand show there is

    reason to doubt Plaintiffs consented. For example, the CPF submitted on David Rounds’ behalf

    is electronically signed and was submitted months prior to his supposed Certification. The CPF

    allegedly submitted by Gaylon Cusick is electronically signed by him – not his personal

    representative – and dated November 11, 2020, over a year after Mr. Cusick passed away. Mr.

    Cusick apparently later submitted two supplements to his CPF, though neither supplement has an

    attached certification page bearing his signature (which makes sense considering he was dead).

    The Plaintiffs do not have access to Ms. Campion’s CPF, and the Defense has not provided it. It



                                                         13
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 19 of 25




    seems unlikely that form would provide evidence that Ms. Campion consented to certification,

    based on the two supplements the Defendants provided, both of which were signed more than

    five years after her death, by “Henri Swanson,” who apparently works as a paralegal at

    Romanucci & Blandin.

           By filing a certification, the other counsel released claims of Plaintiffs without authority

    or consent—and that release of claims, against Patheon, is the only basis for this Court’s

    jurisdiction. It would be a manifest injustice to enforce certification that bars their ability to have

    their claims heard, especially when remand would give that due process to each Plaintiff.

    Moreover, whether or not Plaintiffs enjoyed the benefits of tolling their claims does not bear on

    enforceability of the pretrial order certification. Enjoyment of benefits does not prevent vacatur.

                    3. Failing to Follow a Procedural Technicality in a Pretrial Order Should
                       Not Bar Plaintiff Rascento from His Day in Court

           For Plaintiff Rascento, there is no dispute that the Plaintiff consented to pursuing his

    stomach cancer claim as a CFP. However, Plaintiff Rascento also developed prostate cancer as a

    result of ingesting ranitidine and chose not to pursue that claim in the MDL as it was no longer

    being pursued by the leadership. See PTO 72 ¶ 11. He suffered two severe, life-threatening

    injuries, but only had a pathway to remedy for one within the MDL. Importantly, PTO 72

    provided for circumstances wherein a claimant pursued multiple cancers, but never specified

    how to pursue an alternative claim resulting from the same cause. Nothing in PTO 72 prohibited

    pursuing a non-designated injury elsewhere.

           In the previous motion to remand, the Court took issue with the fact that his certification

    did not specify any type of cancer. However, when Rascento submitted his claim to the MDL

    Court, the Court did not ask him to specify which cancer type he had, so he did not.

    Subsequently, PTO 72 was issued and required claimants like him to file a supplement

                                                          14
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 20 of 25




    distinguishing which cancer he was pursuing in Federal Court, if he was no longer pursuing a

    non-designated cancer claim. However, by the time Rascento was required to file that

    supplement, Plaintiffs’ leadership made clear they would not pursue remedies for non-designated

    cancers like prostate cancer. Thus, Rascento made an error assuming he did not need to indicate

    the different types of cancer he contracted from ranitidine use, since he would only pursue

    remedies to a designated cancer in federal court.

               A final pretrial conference has not yet occurred, so the Court has the power to vacate or

    decline to enforce Rascento’s certification for any reason. This error should not stand in the way

    of allowing Rascento to have his day in court. The procedure for filing was complex, necessarily

    so for the large scope of the MDL. However, it is understandable that Rascento mistakenly

    failed to follow the procedural technicality, requiring him to file a supplement to a certification

    after learning that half of his fatal injuries would not be pursued in federal court. He simply was

    trying to access a court that had the ability to house litigation his life-threatening prostate cancer.

    We ask the court to lift the procedural technicalities that stand to bar him from remedy for his

    illness.

                       4.   No Surprise or Prejudice Will Result

               Defendants will neither be prejudiced nor surprised by this decision. Varner, 13 F.3d at

    1507-08 (explaining a court may elect to not amend a pretrial order if there is “substantial

    prejudice” or surprise to the opposing party). In Dickerson v. Central United Life Ins. Co., the

    defendant moved to vacate the court’s order, granting plaintiff’s motion to amend the pretrial

    order and correct the name of the defendant. 932 F. Supp. 1471, 1473 (M.D. Ga. 1996).

    Pertinently, a month after plaintiff filed suit, another company acquired the defendant. Id. at

    1474. The plaintiff sought to change the defendant’s name to the new acquiring company’s



                                                           15
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 21 of 25




    name in the pretrial order, which the court granted to prevent manifest injustice in not allowing

    the plaintiff to pursue their claims against the proper defendant. Id. The court found there was

    not substantial prejudice nor surprise, because:

           [The defendant has] been notified of this suit from its commencement, there is no
           possibility that the amendment will surprise or prejudice defendant. . . . The only
           effect is to ensure that all potentially responsible entities are parties to this suit.
           Therefore, the court finds that the amendment to the pretrial order served the
           interests of justice and was properly granted.

    Id. at 1475-76.

           In this case, Defendants have been on notice of these Cases, which have been pending for

    years, so litigating these cases would neither surprise nor prejudice Defendants. Moreover,

    because each of these Plaintiffs filed their claims in Delaware state court months before this

    Court entered its Daubert ruling, this is not a situation where the Plaintiffs played a wait-and-see

    approach to see how things played out in the MDL. Instead, before such rulings, these Plaintiffs

    notified and made clear to the Defendants of their intent to pursue claims in Delaware state court

    by filing a lawsuit there. Being asked to defend oneself against a lawsuit does not qualify as

    prejudice or surprise. E.g., Matter of Rogers, 160 B.R. 249, 253 (Bankr. N.D. Ga. 1993) (finding

    no surprise when defendant was named in suit because “the fact a party unexpectedly becomes

    the defendant to a legal action is hardly an unusual circumstance . . . [nor is it] an unusual

    situation when a party becomes a defendant to an action commenced in another state.”). The only

    effect of vacatur would be to ensure that cancer victims and the responsible entities have their

    day in court, in Delaware.

         II.   MOTION TO REMAND

           Plaintiffs respectfully request that the Court enter an order remanding all four cases,

    Campion, Cusick, Rounds, and Rascento, back to Delaware state court so that they may continue



                                                         16
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 22 of 25




    to proceed where they were, originally, filed almost two years ago.

           This section summarizes the original Motion to Remand (Doc. 7264) and Reply (Doc.

    7282) on this issue. Plaintiffs’ references here are intended to incorporate, not abandon, any

    arguments they previously presented.

               A. Legal Standard

            “Federal courts are courts of limited jurisdiction.” E.g. In re United Container LLC, 284

    B.R. 162, 168 (Bankr. S.D. Fla. 2002). Federal jurisdiction exists only when a controversy

    involves either a question of federal law or diversity of citizenship between the parties. 28 U.S.C.

    §§ 1331–32. “Removal statutes are strictly construed.” Design Ctr. of the Americas, LLC v. Mike

    Bell Inc., 54 F. Supp. 3d 1339, 1341 (S.D. Fla. 2014) (citing Syngenta Crop Prot. Inc. v. Henson,

    537 U.S. 28, 32 (2002)); Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 108-09 (1941).

    “Courts should remand all cases where subject matter jurisdiction is in doubt.” Id. (citing Univ.

    of S. Ala. v. Am. Tobacco Co., 168 F.3d 405, 411 (11th Cir. 1999)). A removing defendant has

    the burden of establishing both federal jurisdiction and compliance with the procedures for

    removal set forth in 28 U.S.C. § 1446, as a matter of fact and law.” Sibilia v. Makita Corp., 674

    F. Supp. 2d 1290, 1291 (M.D. Fla. 2009).

               B.     Delaware State Court Is a Proper Jurisdiction

           In February 2024, the Defendants, in violation of federal statutes, removed the Cases from

    Delaware state court, claiming federal subject matter jurisdiction when none existed.

           In Campion and Rounds, the Plaintiffs and one of the named Defendants, Patheon, are

    citizens of Pennsylvania. Campion, Jan. 16, 2024 Complaint at ¶ 8; Rounds, Jan. 16, 2024

    Complaint at ¶ 8. Thus, this Court does not have diversity jurisdiction over the lawsuit. Indeed,

    Defendants do not dispute this. Campion, Notice of Removal at ¶ 2; Rounds, Notice of Removal



                                                        17
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 23 of 25




    at ¶ 2. However, they argue that Patheon is fraudulently joined, i.e., that a claim against Patheon

    is impossible. See, e.g., Campion, Notice of Removal at ¶ 18. Defendants claim that Plaintiffs

    Campion and Rounds were certified participants in this MDL pursuant to PTO 72 and, thus,

    agreed to be estopped from suing any diversity-destroying Defendants, including Patheon. Id.

    However, Plaintiffs Campion and Rounds dispute this—they never consented to or authorized

    any certification in this MDL under PTO 72. Campion, Declaration at ¶ 5-7; Rounds,

    Declaration at ¶ 5-7. If this is true, then PTO 72’s estoppel provisions cannot, as a matter of law,

    bind them; and, thus, their claims against Patheon are not impossible. Burns v. Windsor Ins. Co.,

    31 F.3d 1092, 1095 (11th Cir. 1994) (“removal statutes are construed narrowly; where plaintiff

    and defendant clash about jurisdiction, uncertainties are resolved in favor of remand.”). Factual

    disputes must be weighed in favor of the party seeking removal—and, on this record, this Court

    simply cannot find that Patheon was fraudulently joined. Stillwell v. Allstate Ins. Co., 663 F.3d

    1329, 1332 (11th Cir. 2011) (“To determine whether the case should be remanded, the district

    court must evaluate the factual allegations in the light most favorable to the plaintiff.”). Remand

    must issue.

           In Cusick, although there is complete diversity among the parties, the Defendants’

    removal was illegal under the forum defendant bar. Each of the removing defendants is a citizen

    in Delaware, and thus by statute, are forbidden from seeking removal once served (which they

    were). 28 U.S.C. § 1441(b)(2). Defendants gloss over this disregard of federal law by arguing

    that Plaintiff Cusick waived any right to challenge removal by certifying participation in the

    MDL pursuant to PTO 72. Cusick, Notice of Removal at ¶ 35-38. But, like Campion and

    Rounds, Plaintiff Cusick (specifically, her personal representative) never authorized or consented

    to certification in the MDL. Cusick, Declaration at ¶ 5, 7, 8. So, on these facts—which must be



                                                        18
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 24 of 25




    viewed in a light most favorable to Plaintiff—there was no consent to removal. Stillwell, 663

    F.3d at 1332. The removal was simply illegal. And, on that basis, this Court must remand

    pursuant to the forum defendant bar.

           The terms of certification required the consent of the Plaintiffs, but Plaintiffs Campion,

    Cusick, and Rounds did not consent. These Plaintiffs did, however, explicitly authorized their

    cases to be filed in state court in Delaware, not the MDL. See e.g., Cusick, Declaration at ¶ 3, 4.

    Indeed, they were unaware their cases had ever been certified or filed in federal court, or that the

    terms of certification might bar them from filing elsewhere. See e.g., Cusick, Declaration at ¶ 5-

    7. Under these circumstances, remand is the only just or legally tenable result.

           Plaintiff Rascento presents a different circumstance. In his Delaware state action, Mr.

    Rascento, a citizen of Massachusetts, also named Defendant Patheon, also a citizen of

    Massachusetts, thereby destroying diversity. Rascento, Notice of Removal at ¶ 2. However,

    Plaintiff Rascento certified his stomach cancer case for participation in the MDL—which the

    MDL leadership had included as a “designated” cancer—but deliberately chose to pursue his

    prostate cancer claim in the Delaware state court—where the leadership is actively pursuing the

    cancer type. Thus, while his claim related to stomach cancer may be estopped by his acceding to

    PTO 72, his claim involving prostate cancer is not. Therefore, his claim against Patheon,

    alleging a prostate cancer injury, is not fraudulently joined. This Court must remand it for lack of

    subject matter jurisdiction.

                                             CONCLUSION

           If the unauthorized certification pursuant to PTO 72 is enforced, this procedural misstep

    will eviscerate the claims of cancer victims and deprive them of their day in court. For the

    forgoing reasons, Plaintiffs respectfully request that this Court grant this motion, and enter an



                                                         19
Case 9:20-md-02924-RLR Document 7311 Entered on FLSD Docket 07/01/2024 Page 25 of 25




    order vacating/declining enforcement of certification pursuant to PTO 72 for each case and

    remanding each case back to Delaware state court.

                    CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(3)

           Pursuant to Local Rule 7.1(a)(3), the undersigned, on behalf of Plaintiffs, conferred with

    all parties or non-parties who may be affected by the relief sought in the motion in a good faith

    effort to resolve the issues raised in the motion and has been unable to do so.

    Dated: July 1, 2024                           Respectfully submitted,

    /s/ R. Brent Wisner                           /s/ Jennifer A. Moore
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                                          Attorneys for Plaintiffs

                                     CERTIFICATE OF SERVICE

             I hereby certify that on this 1st day of July, 2024, the foregoing was filed electronically

     through the Court’s CM/ECF system, which will send notice of filing to all CM/ECF participants.



                                                  /s/ R. Brent Wisner
                                                       R. Brent Wisner, Esq.




                                                        20
